  Case 4:22-cv-00343-Y Document 59 Filed 11/22/22               Page 1 of 17 PageID 1572



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               FT. WORTH DIVISION

 ROBERT “BOB” ROSS                         §
 Plaintiff/Counterclaim Defendant          §
                                           §
                                           §
                                           §
                                           §
                                           §       Case No. 4:22-CV-00343-Y
                                           §
                                           §
 ASSOCIATION OF                            §
 PROFESSIONAL FLIGHT                       §
 ATTENDANTS, MCGAUGHEY,                    §
 REBER AND ASSOCIATES, INC.,               §
 JULIE HEDRICK, ERIK HARRIS                §
                                           §
 Defendants/Counterclaim Plaintiff.        §
                                           §

   PLAINTIFF’S MOTION TO DISMISS DEFENDANT’S COUNTERCLAIMS AND
                          BRIEF IN SUPPORT



        COMES NOW Plaintiff, ROBERT “BOB” ROSS, and files this, his Motion to Dismiss

Defendant’s, ASSOCIATION OF PROFESSIONAL FLIGHT ATTENDANTS (hereinafter

“APFA”) Counterclaims under 12(b)(1) and 12(b)(6), as grounds for support herein, and pursuant

to L.R. 7.1, 7.2, 56.3, 56.5 and 56.6 would show this Honorable Court the following:




                                               1
     Case 4:22-cv-00343-Y Document 59 Filed 11/22/22             Page 2 of 17 PageID 1573



                                     Table of Contents

I.     INTRODUCTION                                                                            5
II. STATEMENT OF THE CASE                                                                      5
III. ARGUMENTS AND AUTHORITIES                                                                 7
     A. Standards For Dismissal                                                                7
     B. Statute of Limitations bars APFA’s recovery on all claims.                             9
       1) Breach of Fiduciary Duty under the LMRDA § 501 and Texas Common Law are
       untimely.                                                                               9
       2) § 301(a) of LMRA claim is untimely filed.                                           10
     C. APFA fails to state a claim under 28 U.S.C. § 501(a) Breach of Fiduciary Duty for failure
     to meet the § 501(b) “good cause “requirement.                                            11
     D. APFA fails to state a claim for which it can recover under § 301(a) of LMRA because
     Defendant lacks standing.                                                              12
     E. APFA’s claim under § 301(a) LMRA does not confer federal jurisdiction because the
     Union Constitution is not an inter-union contract.                                       12
IV. CONCLUSION AND PRAYER                                                                     16




                                                 2
  Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                                         Page 3 of 17 PageID 1574



                                              TABLE OF AUTHORITIES
                                                               Cases

Adkins v. Int’l Union of Elec., Radio & Machine Wkrs et al., 769 F.2d 330 (6th Cir. 1985) ....... 10

Ashcroft v. Iqbal, 556 U.S. 662 (2009) ........................................................................................7

Collins v. Morgan Stanley Dean Witter, 224 F.3d 496 (5th Cir. 2000). ........................................7

Harrington v. State Farm Fire & Cas. Co., 563 F.3d 141 (5th Cir. 2009) ......................................7

Hoffman v. Kramer, 362 F.3d 308 (5th Cir. 2004). .....................................................................12

Int’l Ass’n of Heat Frost Insulators v. Doerman, Civil Action No. 1:03-cv-620
     (S.D. Ohio Apr. 18, 2005). .................................................................................................12

Int’l Bhd of Teamsters Local 651 v. Philbeck, Civil Action No. 5:19-105-DCR
     (E.D. KY 2019) .................................................................................................................12

Kokkenen v. Guardian Life Ins. Co. of Am., 511 U.S. 375 (1994). ..............................................7

Lee v Cytec Indus., Inc., 460 F.3d 673 (5th Cir. 2006) ...............................................................10

Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992)...................................................................7

Norris v. Hearst Trust, 500 F.3d454 (5th Cir. 2007). ....................................................................7

Plumbers & Pipefitters v. Plumbers & Pipefitters, 452 U.S. 615 (1981). ....................................13

Plumbers & Steamfitters Union Local No. 10 v. Waters, 451 F.Supp.3d 543
   (E.D. Va. 2020). .............................................................................................................. 8, 10

Quinn v. Press, 135 Tex. 60, 140 S.W.2d 437 (1940). .................................................................8

Ramming v. U.S., 281 F.3d 158 (5th Cir. 2001) ....................................................................... 6, 7

Reed v. United Pramp. Union, 488 U.S. 319 (1989). ............................................................. 8, 10

S.V. v. R.V., 933 A.W.2d 1 (Tex. 1996). .....................................................................................8

Smith v. Evening Newa Ass’n, 371 U.S. 195(1962). ........................................................... 10, 12

Spivey v. Robertson, 197 F.3d 772 (5th Cir. 1999). ......................................................................7

Tex. Gen. Hosp., LP v. United Healthcare Servs., Inc., Civil Action No. 3:15-CV-02096-M
                                                                   3
  Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                                            Page 4 of 17 PageID 1575



    (N.D. Tex. Jun. 28, 2016). ......................................................................................................7

Trinity River Auth. v. URS Consultants, Inc.-Texas, 889 S.W.2d 259 (Tex. 1994) ......................8

Uspps v. Avery Dennison Corp., 326 F. App’x 842 (5th Cir. 2009). .............................................8

Wooddell v. Int’l Bhd of Elec. Wkrs, Local 71, 502 U.S. 93 (1991). ............................. 10, 12, 13

                                                    Statutes & Regulations

CFR § 402.3 . ........................................................................................................................... 14

CFR § 402.4. ............................................................................................................................ 14

29 U.S. § 201(a) et seq,. ...........................................................................................................14

9 U.S.C. § 185(a)....................................................................................................................... 5

29 U.S.C. § 301(a) ................................................................................. 5, 6, 9, 11, 12, 13, 15, 16

29 U.S.C. §431......................................................................................................................... 14

29 U.S.C. § 438.........................................................................................................................14

29 U.S.C. § 501 et seq. .......................................................................................5, 8, 9, 11, 12, 16

29 U.S.C. § 501(a) ................................................................................................ 8, 9, 11, 12, 16

29 U.S.C. § 501(b) .............................................................................................................. 11, 16

Tex. Civ. Prac. Rem. Code Ann. § 16.004(a) ......................................................................... 8, 10

                                                     Court Rules
Fed. R. Civ. P. 12(b)(1). ..................................................................................................... 1, 5, 6

Fed. R. Civ. P. 12(b)(6). ............................................................................................... 1, 5, 7, 11

Fed. R. Civ. P. 12(h)(3). ............................................................................................................. 6

Local Rule 7.1. ........................................................................................................................... 1

Local Rule 7.2. ........................................................................................................................... 1

Local Rule 56.3. ......................................................................................................................... 1

                                                                     4
    Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                                         Page 5 of 17 PageID 1576



Local Rule 56.5. ......................................................................................................................... 1

Local Rule 56.5. ......................................................................................................................... 1


                                                      I.      INTRODUCTION

            COMES NOW Plaintiff/Counterclaim Defendant, ROBERT “BOB” ROSS (“Ross” or

“Plaintiff”), and files his Motion to Dismiss Defendant’s, ASSOCIATION OF PROFESSIONAL

FLIGHT ATTENDANTS (hereinafter “APFA” or “Defendant”) Counterclaims for relief against

Ross for lack of subject matter jurisdiction and failure to state a claim upon which relief can be

granted, as a matter of law, under 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure

(“FRCP”). 1 As grounds for support of its Motion, Plaintiff respectfully requests dismissal of all

counterclaims.



                                           II.      STATEMENT OF THE CASE

          Defendant, APFA, is a labor organization representing American Airlines Flight

Attendants. APFA seeks damages alleging violations of the Labor Management Reporting and

Disclosure Act, 29 U.S.C. § 501, et seq. (“LMRDA”), breach of fiduciary duty, common law

breach of fiduciary duty, and seeking enforcement of the APFA Constitution under 301(a) of the

Labor Management Relations Act, 29 U.S.C. § 185(a) by enforcing the Disciplinary Award. Ross

is a member and former National President of APFA from April 1, 2016 to March 2, 2018.

          Charges were pursued by APFA members on behalf of the union scrutinizing union credit

card charges for business meals, furniture purchases, rental car charges, and apartment costs

incurred while Plaintiff commuted between California and Texas. A disciplinary hearing was held


1
 Plaintiff requests dismissal of all counterclaims asserted by his union, APFA, in its Answer and Counterclaims
(Docket 8, PAGEID 32-43).
                                                                     5
  Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                Page 6 of 17 PageID 1577



Plaintiff was subject to a “document dump” on the day of the hearings, exculpatory documents

were withheld, and subpoenaed witnesses (namely three national officers) refused to appear to

testify. This disciplinary hearing resulted in an award finding Plaintiff engaged in “malfeasance,

fraud, [and] misappropriation of funds” during his term in office. Fines from damages original

alleged to be $5,436.47 have now grown to a disciplinary fine of $62,558.75.

       The arbitration hearing was held—much of it conducted in a way that denied Ross a fair

opportunity to be heard—and an arbitration award was issued. The arbitration award went well

beyond the charges asserted against Plaintiff by framing the issue as “Did Bob Ross, the Defendent

[sic] herein violate the APFA Policy Manual and the APFA Constitution by engaging in

malfeasance, fraud, misappropriation of funds while he was in office during the term of April 1,

2016 to March 2, 2018. If so, what shall be the appropriate remedy?”

       The award goes beyond the initial charges asserted against Plaintiff seeks to ameliorate

grievances for a family trip never taken, furniture purchases for which Ross previously reimbursed

the Union, for an apartment in Texas while commuting from California, and credit card charges

bearing account numbers not associated with Ross’s union credit card. Furthermore, the award

goes beyond the scope of remedies sought on behalf of the union and issues $62,558.75 in

disciplinary fines for bills, expenses incurred, costs of an accounting firm’s audits expenses, and

Plaintiff’s income he was allegedly overpaid. Yet no evidence was ever produced for these

expenses.

       Plaintiff filed claims for violations of his Member’s Bill of Rights under the LMRDA for

lack of a fair hearing among other claims. Defendant now seeks claims for breach of fiduciary

duty for actions taken while Plaintiff held union office, and enforcement of the Union

Disciplinary Award under 301(a) LMRA breach of an inter-union contract or collective

                                                6
    Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                         Page 7 of 17 PageID 1578



bargaining agreement.


                              III.     ARGUMENTS AND AUTHORITIES


                                          Standards For Dismissal

        Federal courts are courts of limited jurisdiction, and the law presumes that “a cause lies

outside this limited jurisdiction.”2 On a motion to dismiss for lack of subject matter jurisdiction

pursuant to FRCP 12(b)(1), the rule requires dismissal of any claim for which federal courts lack

subject matter jurisdiction. If the court determines that it lacks subject matter jurisdiction, it must

dismiss the action in accordance with FRCP 12(h)(3). The party asserting claims under federal law

bear the burden of establishing by a preponderance of the evidence that subject matter jurisdiction

exists. 3 Courts determine subject matter jurisdiction under FRCP 12(b)(1) based on “(1) the

complaint alone; (2) the complaint supplemented by undisputed facts evidenced in the record; or

(3) the complaint supplemented by undisputed facts plus the court’s resolution of disputed facts.” 4

Finally, “[w]hen a Rule 12 (b)(1) motion is filed in conjunction with other Rule 12 motions, the

Court should consider the Rule 12 (b)(1) jurisdictional attack before addressing any attack on the

merits.” 5

        To survive a motion to dismiss under FRCP 12(b)(6), the Twombly rule requires that “[a]

claim has facial plausibility when the pleaded factual content allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”6 The Plaintiff must

assert more than mere legal conclusion, as “the tenet that a court must accept a complaint's


2
  Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).
3
  Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992); Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001).
4
  Ramming, 281 F.3d at 161.
5
  Id. at 161.
6
  Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009).
                                                         7
    Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                           Page 8 of 17 PageID 1579



allegations as true is inapplicable to threadbare recitals of a cause of action's elements, supported

by mere conclusory statements.” 7 “[O]nly a complaint that states a plausible claim for relief

survives a motion to dismiss.” 8

        This Court phrased the standard of review for a Rule 12(b)(6) motion as one in which:

                 “the Court generally cannot look beyond the pleadings. The pleadings include the
                 complaint and any documents attached to it. If documents are referred to in the
                 plaintiff's complaint and are central to the plaintiff's claims, but not attached, a
                 defendant can attach them to a motion to dismiss and they will be
                 considered. Id. In deciding a motion to dismiss, the Court may also consider
                 matters of public record without converting the motion into one for summary
                 judgment. 9

        This strict standard of review considers “whether in the light most favorable to the plaintiff

and with every doubt resolved on his behalf, the complaint states any valid claim for relief." 10

        APFA asserts federal jurisdiction over its counterclaims through 28 U.S.C. §1337 (acts

regulating interstate commerce), 28 U.S.C. § 1331 (federal question), 28 U.S.C. § 2201

(declaratory judgments). APFA also asserts federal jurisdiction under 29 U.S.C. § 185 (breach of

an interunion contract or collective bargaining agreement), and 29 U.S.C. §501 (member’s claim

for breach of fiduciary duty under LMRDA). APFA improperly asserts subject matter jurisdiction

based on 28 U.S.C. § 1337, 28 U.S.C. § 2201, 28 U.S.C. § 1331 as all are procedural statutes which

fail to confer subject matter jurisdiction to the Defendant’s counterclaims as each fail to offer an

independent basis for federal question. The two remaining grounds for subject matter jurisdiction

29 U.S.C. § 185 (breach of an interunion contract or collective bargaining agreement), and 29

U.S.C. §501 (member’s claim for breach of fiduciary duty under LMRDA) are addressed below.



7
  Id. at 663.
8
  Id. at 679.
9
  Tex. Gen. Hosp., LP v. United Healthcare Servs., Inc., Civil Action No. 3:15-CV-02096-M (N.D. Tex. Jun. 28,
2016) (citing Spivey v. Robertson, 197 F.3d 772, 774 (5th Cir. 1999); Collins v. Morgan Stanley Dean Witter, 224
F.3d 496, 498-99 (5th Cir. 2000); Norris v. Hearst Trust, 500 F.3d 454, 461 n.9 (5th Cir. 2007)).
10
   Harrington v. State Farm Fire & Cas. Co., 563 F.3d 141 (5th Cir. 2009).
                                                          8
     Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                        Page 9 of 17 PageID 1580



                  Statute of Limitations bars APFA’s recovery on all claims.
         1) Breach of Fiduciary Duty under the LMRDA § 501 and Texas Common Law are
            untimely.

         The LMRDA is silent on the limitations period for a breach of fiduciary duty under § 501. 11

“It is well established. . . that when Congress does not provide a statute of limitations, courts should

look to the analogous state law statute of limitations.” 12 The Texas Civil Practices and Remedies

Code § 16.004(a) limits a claim for breach of fiduciary duty to those asserted “no later than four

years after the day the cause of action accrues.” 13 Texas Supreme Court finds that "a cause of

action accrues when a wrongful act causes some legal injury." 14 According to the 5th Circuit Court

of Appeals “[t]his is the case ‘even if the fact of injury is not discovered until later’ and ‘even if

all resulting damages have not yet occurred.’”15

          Defendant argues that Plaintiff breached his fiduciary duty under both LMRDA and Texas

Common Law for conduct taken while Plaintiff held office as National President of APFA.16

Plaintiff’s left office on March 2, 2018.17 Defendant filed its counterclaims on May 16, 2022.18

Defendant’s breach of fiduciary duty claims fail under both the LMRDA § 501 as well as Texas

Common Law because all allegedly wrongful acts that form the basis of Defendant’s counterclaims

accrued as of the end of his term in office. Plaintiff has been out of office for over four years, thus

any conduct causing legal injury occurred over four years before the filing of Defendant’s




11
   LMRDA § 501(a).
12
   Reed v. United Tramp. Union, 488 U.S. 319, 323 (1989) (citing DelCostello v. Teamsters, 462 U.S. 151, 158
(1983)); See also Plumbers & Steamfitters Union Local No. 10 v. Waters, 451 F.Supp.3d 543 (E.D. Va. 2020).
13
   Tex. Civ. Practices and Remedies Code § 16.004(a).
14
   S.V. v. R.V., 933 S.W.2d 1, 4 (Tex. 1996); see also Trinity River Auth. v. URS Consultants, Inc.-Texas, 889
S.W.2d 259, 262 (Tex. 1994); Quinn v. Press, 135 Tex. 60, 140 S.W.2d 438, 440 (1940).
15
   Uspps v. Avery Dennison Corp., 326 F. App'x 842, 846-47 (5th Cir. 2009) (citing S.V., 933 S.W.2d at 4).
16
   Docket No. 8, Def. Answer and Counterclaims, PAGEID 107-118.
17
    Docket No. 8, ¶17, Def. Answer and Counterclaims, PAGEID 82.
18
   See Docket No. 8, Def. Answer and Counterclaims, PAGEID 107-118.
                                                         9
 Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                             Page 10 of 17 PageID 1581



counterclaims. 19

         2) § 301(a) of LMRA claim is untimely filed.

         Defendant asserts a counterclaim for breach of a contract by the Plaintiff arguing under

301(a) LMRA provides a cause of action.20 The courts extend federal jurisdiction under §301a to

claims in three circumstances—none of which are applicable to the case-at-issue:

         (1) Suits by employees against an employer for breach of a collective bargaining
             agreement (typically called straightforward §301a actions);

         (2) Suits by employees/union-members against an employer for breach of a collective
             bargaining agreement, and a suit against the union for breach of duty of fair
             representation (known as a Hybrid §301a action); and

         (3) Suits by union-members against a national or international union for breach of a union
             constitution when the union constitution is a contract between the national union and a
             local union (known as a breach of inter-union contract action).

The Supreme Court stated "§ 301 is not limited to suits brought by a party to an interunion contract

but extends to individual union members when they are the beneficiaries of such contracts.” 21

The general rule governs the limitations period as LMRDA is silent on this issue; therefore, state

law limitations are applied on those claims most analogous to the federal claim-at-issue. 22 Similar

to breach of fiduciary duty—breach of contract claims under Texas law must be filed within a

four-year from the occurrence that gave rise to the claim. 23

         However, the U.S. Supreme Court imposes an exception to the general rule, in which it



19
   Docket No. 1-3, Pl. Original Complt. Ex. C, Arbitration Award, PAGEID 36.
20
   Docket No. 8, Def. Answer and Counterclaims, PAGEID 107-118.
21
   Ackley v. Western Conference of Teamsters, 958 F. 2d 1463 - Court of Appeals, 9th Circuit 1992; Wooddell v.
International Brotherhood of Electrical Workers, Local 71, 502 U.S. 93, 112 S.Ct. 494, 116 L.Ed.2d 419 (1991)
(citing Smith v. Evening News Assn., 371 U.S. 195, 200-201, 83 S.Ct. 267, 270-271, 9 L.Ed.2d 246.)
22
    Reed v. United Tramp. Union, 488 U.S. 319, 323 (1989) (citing DelCostello v. Teamsters, 462 U.S. 151, 158
(1983)); See also Plumbers & Steamfitters Union Local No. 10 v. Waters, 451 F.Supp.3d 543 (E.D. Va. 2020).
23
   “A four-year statute of limitations applies to fraud, breach of contract, and breach of fiduciary duty claims. TEX.
CIV. PRAC. REM. CODE ANN. § 16.004(4), (5) (Vernon 2002)” Pollard v. Hanschen, 315 S.W.3d 636, 641 (Tex.
App. 2010).
                                                         10
 Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                              Page 11 of 17 PageID 1582



applies six-month limitations period for Hybrid §301 LMRA claims. 24 The 5th Circuit determined

that policy interest dictates that a six-month limitation period may be applied as “federal law favors

early resolution of labor disputes. . ." 25 According to the 5th Circuit Court of Appeals, “[p]laintiffs

cannot wait until the statute of limitations for a federal lawsuit has passed and then file a grievance

to circumvent the applicable six-month statute. This is especially so given that the six-month

limitations period under federal law is an extension of the time period provided by many state

statutes.” 26

         APFA filed its counterclaims complaining of Plaintiff’s conduct while holding national

office on May 16, 2022. 27 It is an undisputed fact that Plaintiff resigned from his position on

March 2, 2018—more than four years prior to the filing of Defendant’s counterclaims. 28 Whether

the general rule, or the exception for §301(a) of LMRA Hybrid Claims is applied—Defendant’s

counterclaims are beyond the statute of limitations and are barred.

APFA fails to state a claim under 28 U.S.C. § 501(a) Breach of Fiduciary Duty for failure to
                        meet the § 501(b) “good cause “requirement.

         Even if the limitations period had not expired, APFA failed to state a claim for recovery

under LMRDA’s for Breach of Fiduciary Duty as LMRDA § 501(b) requires claims brought under

LMRDA § 501(a) establish “good cause” exists to bring the claim. 29 The 5th Circuit Court of

Appeals recently reviewed a claim under LMRDA § 501(a) and held the following:

                  . . . the substance of the "good cause" requirement of § 501(b) requires a
                  few essential steps for district courts to take beyond Rule 12(b)(6) in
                  evaluating applications for leave to sue union officials. [1] First, the court
                  must determine that the alleged misconduct directly relates to the duties

24
   DelCostello v. Teamsters, 462 U.S. 151, 158 (1983))
25
   Lee v. Cytec Industries, Inc., 460 F.3d 673, 676 (5th Cir. 2006) (citing Adkins, 769 F.2d at 335, and DelCostello v.
Int'l Bhd. of Teamsters, 462 U.S. 151, 168, 103 S.Ct. 2281, 76 L.Ed.2d 476 (1983)).
26
   Lee, 460 F.3d at 676.
27
   Docket No. 8, Def. Answer and Counterclaims, PAGEID 107-118.
28
   Docket No. 8, ¶17, Def. Answer and Counterclaims, PAGEID 82.
29
   29 U.S.C. §501(b).
                                                         11
 Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                           Page 12 of 17 PageID 1583


                 enumerated in § 501(a). [2] Second, because of the derivative nature of an
                 applicant's suit, the court must satisfy itself that the applicant seeks
                 remedies that would realistically benefit the union as the collective
                 bargaining representative of its members and/or the membership of the
                 union. [3] Third, the application must allege facts that will support a
                 conclusion that the alleged breaches of § 501 were presented to the union.
                 [4] Fourth, the applicant must make a showing that the union's refusal to
                 act on the breaches presented to it was objectively unreasonable in the
                 ways we have earlier discussed. [5] Finally, after the court is satisfied that
                 these conditions are met, the plaintiff must convince the court by the
                 allegations of the verified application, or affidavit or otherwise, that some
                 evidence exists, disputed or not, that will support the claims of a breach of
                 fiduciary duty under § 501(a). 30

        In the case at issue, APFA failed to meet all five elements required to meet the “good

cause” requirement as defined by the 5th Circuit Court. APFA failed to state a claim upon which

it is entitled to recovery, and therefore its Breach of Fiduciary Duty claim under LMRDA § 501(a)

must be dismissed.

     APFA fails to state a claim for which it can recover under § 301(a) of LMRA because
                                   Defendant lacks standing.

        APFA asserts a counterclaim for breach of an inter-union contract by the Plaintiff under

301(a) LMRA. 31 The Supreme Court has held that "§ 301 is not limited to suits brought by a party

to an interunion contract but extends to individual union members when they are the beneficiaries

of such contracts.”32 The courts have rarely been faced with a union asserting a § 301(a) LMRA

claim to enforce fines against its own members, however courts typically decline to enforce these

fines, as one court framed it “. . . the statute does not provide jurisdiction over claims brought by

labor organizations against its individual members. Thus, the plain terms of the statute do not

support jurisdiction over a labor organization seeking to recoup a fine levied against one of its



30
   Hoffman v. Kramer, 362 F.3d 308, 319 (5th Cir. 2004).
31
   Docket No.11, Def. Answer and Counterclaims, PAGEID 106-118.
32
   Wooddell v. International Brotherhood of Electrical Workers, Local 71, 502 U.S. 93, 112 S.Ct. 494, 116 L.Ed.2d
419 (1991) (citing Smith v. Evening News Assn., 371 U.S. 195, 200-201, 83 S.Ct. 267, 270-271, 9 L.Ed.2d 246).
                                                       12
 Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                           Page 13 of 17 PageID 1584



members as in this case.” 33

        Defendant’s counterclaim under section 301(a) LMRA is novel. To date, courts have only

extended section 301(a) of LMRA to breach of contract claims by an employee/union member

against the employer and/or the union; or for those claims between two unions—never a claim for

the union against its individual member. Should Defendant be entitled to recover under this

claim—it would be an unprecedented break from the vast case law on §301(a) claims.

APFA’s claim under § 301(a) LMRA does not confer federal jurisdiction because the Union
                      Constitution is not an inter-union contract.

        According to the Supreme Court, ". . . union constitutions are an important form of contract

between labor organizations." 34 "Members of a collective-bargaining unit are often the

beneficiaries of such interunion contracts, and when they are, they likewise may bring suit on these

contracts under § 301."35 “Section 301 (a) establishes federal district court jurisdiction for ‘[s]uits

for violation of contracts . . . between any . . . labor organizations [representing employees in an

industry affecting commerce as defined in this chapter].’"36

        Defendant asserts that APFA is a “parent” union and the individual flight bases are each

“subordinate” unions in which the APFA Constitution governs the relationship between these




33
  International Ass'n of Heat Frost Insulators v. Doerman, Civil Action No. 1:03-cv-620 (S.D. Ohio Apr.
18, 2005) (declining to extend 301 claims to claims by unions against a member, observing that the cases
that have allowed 301 claims by a union against a member are only those seeking injunctive relief, not
those seeking to impose damages), [APPENDIX P. 55-59]; See also International Brotherhood of
Teamsters Local 651 v. Philbeck, Civil Action No. 5:19-105-DCR, (ED KY 2019) (court recognizing the
union is likely to establish a breach of union constitution for summary judgment review, but does not
consider the issues relating to standing of a union to file a claim under 301 of LMRA against a member.
The claim in this case only seeks enforcement of an injunction against facebook posts by the member.).
34
   Wooddell v. International Brotherhood of Electrical Workers, Local 71, 502 U.S. 93, 112 S.Ct. 494, 116 L.Ed.2d
419 (1991).
35
   Id. at 112.
36
   Plumbers & Pipefitters v. Plumbers & Pipefitters, 452 US 615, 619-20 (1981) (citing language of 29 U. S. C. §
185 (a)).
                                                       13
 Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                  Page 14 of 17 PageID 1585



“base” Unions and the National APFA “parent” union. If the structure of APFA is one described

as a parent/subordinate-union relationship, then under Wooddell, an employee can sue the union

for breach of this inter-union contract in federal court. If, however, APFA has no affiliation with

any other union, then the APFA Constitution is a contract that governs the relationship between

the union and its members—and federal courts lack subject matter jurisdiction.

        The LMRDA empowers the Secretary of Labor to issue, amend, create rules and

regulations to effectuate the statutory purpose.37 The Secretary of Labor requires every labor

organization subject to LMRDA (“Labor Organization”) to file an initial information report and a

copy of the union’s constitution with the Office of Labor-Management Standards (“OLMS”)

(“LM-1”) and an annual financial report (“LM-2”). 38 If a Labor Organization later affiliates, or

subordinates itself to another union; the Labor Organization must submit an amended LM-1

disclosing this relationship with the contract governing this relationship.39 Regardless of whether

a Labor Organization is a “parent” or “subordinate” Labor Organization—both must file annual

financial reports disclosing information like the number of members, election dates, assets,

liabilities, and disbursements made by the union. 40

        APFA’s original LM-1 and most current LM-2 prove that APFA is an independent national

labor organization that holds no affiliation with any other union. The original LM-1 filed in 1977

by APFA officers states that the union is a national union in Question 11. 41 It lists the national

officers of the union and explains that the officers are chosen from each induvial flight bases under

Section 15 Additional Information.42 APFA is a national union, and each flight base elects its own

37
   29 U.S.C. § 438.
38
   CFR § 402.3; 29 U.S. § 201(a), et seq.
39
   CFR § 402.4; 29 U.S. § 201(a), et seq.
40
   29 U.S.C. § 431, et seq.
41
   APFA LM-1 signed February 28, 1977, [APPENDIX P. 1-2].
42
   APFA LM-1 signed February 28, 1977, [APPENDIX P. 1-2].
                                                  14
 Case 4:22-cv-00343-Y Document 59 Filed 11/22/22                            Page 15 of 17 PageID 1586



delegate who acts as an officer on the Board of Directions to the national union. 43 Nowhere does

the LM-1 indicate there exists any affiliation with another union.

        Most importantly, there are no LM-1 or LM-2 filings on record with the Department of

labor that list any association with APFA.44 The APFA LM-2 filed on September 2, 2022 lists all

23,440 flight attendants of American Airlines as members to the national union. 45 The LM-2 lists

the salaries that APFA paid to each individual Base Presidents, Base Vice-Presidents, and Base

Reps in Schedule 11. 46 Finally, APFA’s reports all receipts to which it is entitled based on the

entire American Airline Flight Attendant membership dues. 47

        If a parent union reports on its LM-2 all members, all receipts, and all payments to elected

officials for all flight bases, and the local “Base” unions have failed to ever file reports with the

OLMS, then it seems clear that there are no subordinate “Base” unions on public record. APFA

cannot substantiate a counterclaim under 301(a) LMRA, and thus this court lacks subject matter

jurisdiction on all APFA’s counterclaims. If the APFA Constitution is a “parent” union and its

Constitution an inter-union contract falling under Woodall, then Defendant and its national officers

are liable for criminally misrepresenting the financial information contained in its LM-2. As a

matter of law, APFA lacks subject matter jurisdiction for this, and all other counterclaims.




43
   APFA LM-1 signed February 28, 1977, [APPENDIX P. 1-2].
44
   Review and search was conducted of the public recorded filings with the Department of Labor at
https://olmsapps.dol.gov/olpdr/?_ga=2.132874825.638940536.1669079421-696218131.1664500829
and phone calls from Plaintiff’s Counsel’s office to the Department of Labor to confirm whether any other filings by
Local Unions associated with APFA have been submitted—none were found on record.
45
   APFA LM-2, Filed 9-2-2022, [APPENDIX P. 4]. The Court should note the Securities Exchange Commission
Filing of the 10K for American Airlines Group, Inc. publicly reported that it employs approximately 22,000 flight
attendants as of the December 31, 2021.
46
   APFA LM-2, Filed 9-2-2022, [APPENDIX P. 17-33].
47
   APFA LM-2, Filed 9-2-2022, [APPENDIX P. 6], (based on the membership x $41 monthly dues) should be
approximately $11,532,48047—only $69,939 under the reported receipts to the Department of Labor.
                                                        15
 Case 4:22-cv-00343-Y Document 59 Filed 11/22/22               Page 16 of 17 PageID 1587



                            IV.    CONCLUSION AND PRAYER

       In conclusion, Defendant’s counterclaims have expired under statute of limitations period.

Furthermore, APFA failed to meet the “Good Faith” requirements under §501(b) to bring a

LMRDA § 501(a) claim. APFA also lacks standing to bring a §301(a) LMRA claim against its

own members—as there is no statutory or case law on record that supports such standing exists.

Finally, a review of public record filings with the Department of Labor support that there is no

National/Local Inter-union structure between APFA and its Bases—as Plaintiff contends. For the

reasons state herein, Plaintiff requests that the Court grant Plaintiff’s Motion to Dismiss

Defendant’s Counterclaims for Relief.

                                              Respectfully submitted,
                                              K.D. PHILLIPS LAW FIRM, PLLC

                                              By: /s/ Kerri Phillips
                                                   Kerri Phillips
                                                   Texas Bar No. 24065906
                                                   Phone: (972) 327-5800
                                                   Email: kerri@KDphillipslaw.com

                                              By: /s/ Heather Abreu
                                                   Heather Abreu
                                                   Texas Bar No. 24122577
                                                   Phone: (972) 327-5800
                                                   Email: heather@KDphillipslaw.com

                                                    5700 Tennyson Parkway, Suite 300
                                                    Plano, Texas 75024
                                                    Fax: (940) 400-0089
                                                    For Service of Filings:
                                                    notice@KDphillipslaw.com

                                                    ATTORNEYS FOR PLAINTIFF




                                              16
Case 4:22-cv-00343-Y Document 59 Filed 11/22/22              Page 17 of 17 PageID 1588



                            CERTIFICATE OF SERVICE

        I certify that true and correct copy of this document was sent to all counsel of
record, hereunder listed via ECF Filing on this the 22nd day of November 2022.


William Osborne
Sanford Denison
Michael Rake
                                                            /s/ Kerri Phillips
                                                           Kerri Phillips, Esq.




                                             17
